   Case: 1:23-cv-14485 Document #: 29 Filed: 11/10/23 Page 1 of 2 PageID #:1002




                          IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    LUKE COMBS,

             Plaintiff,                                    Civil Action No.: 1:23-cv-14485

    v.                                                     Judge Elaine E. Bucklo

    THE PARTNERSHIPS AND                                   Magistrate Judge Sheila M. Finnegan
    UNINCORPORATED ASSOCIATIONS
    IDENTIFIED ON SCHEDULE “A”,

    Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                               DEFENDANT
                 16                                HoneyCombb
                 26                                  TCHENG
                 40                                 DGTYTRUI
                 37                                lanxuanmaoyi
                 38                                    Qimee
                  7                                   ZIFOTA
                 30                                Superclothes1
                 24                   chanchengqudimaoshangmaoyouxiangongsi


DATED: November 10, 2023                                      Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      33 W. Jackson Blvd., #2W
                                                      Chicago, Illinois 60604
                                                      Telephone: 312- 971-6752
                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on November 10, 2023 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
